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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                              Plaintiff,

vs.                                                            No. 19-CR-03113-JB

ROBERT PADILLA, et al.,

                              Defendants.

                    NOTICE OF REMOTE APPEARANCE AT HEARING

       COMES NOW Defendant Robert Padilla, by and through counsel of record, Romero &

Winder, PC (Joe M. Romero, Jr.), hereby provides notice to the Court of his intent along with

counsel to attend the Omnibus Motion hearing set on March 30, 2021 at 1:30 p.m. by Zoom. A

separate signed waiver of personal appearance for Mr. Padilla, who is currently detained at the Luna

County Detention Center, shall be submitted.

                                                               Respectfully Submitted

                                                               ROMERO & WINDER, P.C.

                                                         By:   /s/ “Electronically filed” 3/29/2021
                                                               Joe M. Romero, Jr.
                                                               Attorney for Defendant Padilla
                                                               P.O. Box 25543
                                                               Albuquerque, NM 87125
                                                               (505) 843-9776
                                                               joe@romeroandwinder.com


This will certify that a true and correct copy of the
foregoing was delivered via the Court’s electronic
filing system to counsel for the government and
counsel for all co-defendants on the date indicated in
the court-affixed header.

/s/ “Electronically Filed”
Joe M. Romero, Jr.
